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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA                                       ORDEROF
                                                               JUDICIAL
        - against -                                            REMOVAL

IBRAHIM ALHUSSA YEN                                            22-CR-471 (EK)

                Defendant.



- ----------------------------- X


       Upon the application of the United States of America, by Sara K. Winik, Assistant United

States Attorney, Eastern District of New York; upon the Factual Allegations in Support of Judicial

Removal; upon the consent of IBRAHIM ALHUSSA YEN ("the defendant") and upon all prior

proceedings and submissions in this matter; and full consideration having been given to the matter

set forth herein, the Court finds:

        1.      The defendant is not a citizen or national of the United States.

       2.       The defendant is a native of Saudi Arabia and a citizen of Saudi Arabia.

       3.       T~e defendant was admitted to the United States as a nonimmigrant student

pursuant to a F-1 visa at or near Washington Dulles International Airport, Dulles, Virginia, on or

about August 31, 2020.

       4.       At the time of sentencing in the instant criminal proceeding, the defendant will be

convicted in the United States District Court, Eastern District of New York, pursuant to a Count

One of the Information, charging the defendant with violation of 18 U.S.C. §§ lO0l(a)(l) and

1001(a)(2) (concealing material facts and making false statements).
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         5.    The maximum term of imprisonment for violation of Title 18 United States Code,

Sections I00I(a)(l) and 1001 (a)(2) is a term of five years imprisonment.

         6.   The defendant is, and at sentencing will be, subject to removal from the United

States pursuant to:    (1) Section 237(a)(2)(A)(i) of the Act, as amended, 8 U.S.C. §

l 227(a)(2)(A)(i), in that he has been convicted of a crime involving moral turpitude committed

within five years after admission for which a sentence of one year or longer may be imposed.

         7.   The defendant has waived his right to notice and a hearing under Section

238[d](c) of the INA, 8 U.S.C. § 1228[d](c).

         8.   The defendant has waived the opportunity to pursue any and all forms ofrelief and

protection from removal.

         9.   The defendant has designated Saudi Arabia as the destination for removal pursuant

to Section 240(d) of the Act, 8 U.S.C. § 1229a(d).

         WHEREFORE, IT IS HEREBY ORDERED, pursuant to Section 238[(d)](c) of the

Immigration and Nationality Act of 1952, as amended, 8 U .S.C. § 1228[(d)](c), that the defendant

shall be removed from the United States promptly upon his release from confinement, or, if the

defendant is not sentenced to a term of imprisonment, promptly upon his sentencing, and that the

defendant be ordered removed to Saudi Arabia.



Dated:         ~ooklyn, New York
              1'1 ~ \ ·~ 0 , 2022
                                                s/Eric Komitee

                                               THE HONORABLE ERIC R. KOMITEE
                                               UNITED STA TES DISTRICT JUDGE
